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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                 8:08CR137
                                               )
       v.                                      )   REPORT AND RECOMMENDATION
                                               )               AND
HARVEY L. LANE,                                )             ORDER
                                               )
                     Defendant.                )


       At the conclusion of the hearing on June 23, 2008, on the defendant’s motions to
suppress evidence, I stated my conclusions on the record and my decision to recommend
that the motions to suppress be denied. In accordance with that announcement,


       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, United States District
Judge, that the motions to suppress, Filing Nos. 34 and 36, be denied in all respects.


       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause an expedited transcript of the hearing to be prepared
and filed.
       2.     Pursuant to NECrimR 57.3 any objection to this Report and Recommendation
shall be filed with the Clerk of the Court within ten (10) business days after the transcript
is available to counsel for reading in the clerk’s office. Failure to timely object may
constitute a waiver of any such objection. The brief in support of any objection shall be
filed at the time of filing such objection. Failure to file a brief in support of any objection
may be deemed an abandonment of the objection.
       Dated this 23rd day of June, 2008.
                                             BY THE COURT:
                                             s/Thomas D. Thalken
                                             United States Magistrate Judge
